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Hon, P, Kevin Castel LA octet), : oo LPR.

. United States District Judge #0) LY

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United States District Court Te At PECCEL)
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Re: Humane Consumer LLC v, COB Ecommerce Empire LLC, et al, /_ > -Yf-ry a
Civil Action No, 18-cv-05622 (PKC)

Dear Judge Castel:

This firm was recently retained to represent Plaintiff/Counterclaim Defendant Humane
Consumer LIC and third party defendant Michael Kim in this action, Today, we submitted via
ECF a stipulation and proposed order of substitution of counsel in order to formally substitute
this firm for that of Paul Siegert as counsel for these parties.

We have reviewed Your Honor’s Scheduling Order dated November 16, 2018 and
respectfully request an order adjourning without date or for at least thirty (30) days the mediation
presently scheduled for December 11, 2018, and which pursuant to Your Honor’s Mediation
Referral Order, also dated November 16, 2018, was required to be commenced on December 11,
2018 or within seven days of said date, at the mediator’s direction. Counsel for defendants COB
Economic Empire LLC, Crawford and O’Brien LLC and Charles Crawford have been requested.
to consent to such adjournment and, as of the time this letter was sent, have not responded.

The reason for this request is two-fold. First, we need an adjournment to get fully up to
speed on all the facts of this action and. to properly prepare for mediation, Second, there is one
defendant, Michael O’Brien, who has not yet appeared and/or answered in the action and
therefore, we do not know with what facts he may take issue or whether he will be present for the
arbitration, This is the first request for an adjournment of this date and the next case
management conference with the Court is scheduled for May 31, 2019 at 10:30 a.m.

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